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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No. 3:16cr70/MCR

ROBERT B. JACKSON
______________________________________________

                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count I of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary,

and that the offense charged is supported by an independent basis in fact containing

each of the essential elements of such offense. I therefore recommend that the plea

of guilty be accepted and that the Defendant be adjudicated guilty and have sentence

imposed accordingly.

Dated:         September 23, 2016


                                    /s/ Elizabeth M. Timothy
                                    ELIZABETH M. TIMOTHY
                                    CHIEF UNITED STATES MAGISTRATE JUDGE
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                                       NOTICE

       Objections to these proposed findings and recommendations must be filed within
twenty four (24) hours after being served a copy thereof. Any different deadline that
may appear on the electronic docket is for the court’s internal use only, and does not
control. A copy of objections shall be served upon all other parties. If a party fails to
object to the magistrate judge's findings or recommendations as to any particular claim
or issue contained in a report and recommendation, that party waives the right to
challenge on appeal the district court's order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




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